
The People of the State of New York, Respondent, 
againstSafraz Isshack, Appellant.



Appeal from a judgment of the Criminal Court of the City of New York, Queens County (Dorothy Chin Brandt, J.), rendered June 17, 2013. The judgment convicted defendant, upon his plea of guilty, of assault in the third degree. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]) seeking leave to withdraw as counsel.




ORDERED that the judgment of conviction is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel, is, therefore, granted (see Anders v California, 386 US 738 [1967]; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
Weston, J.P., Solomon and Elliot, JJ., concur.
Decision Date: April 07, 2016










